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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN OVERSIGHT,
                                                       Civil Action No. 1:20-cv-00633-APM
         Plaintiff,

 v.

 ELECTION ASSISTANCE COMMISSION,

         Defendants.


                                   JOINT STATUS REPORT

        Plaintiff American Oversight (“Plaintiff”) and Defendant Election Assistance

Commission (“Defendant”), through their undersigned counsel, hereby submit the following

joint status report pursuant the Court’s minute order of May 19, 2020.

        This case concerns three Freedom of Information Act (“FOIA”) requests submitted by

Plaintiff to Defendant. As described in the Complaint, they are (1) the “Directives FOIA,” (2)

the “White House Communications FOIA,” and (3) the “Outside Communications FOIA.” Each

request will be addressed separately below.

      1. DIRECTIVES FOIA

        Defendant provided its final response to this FOIA request on March 26, 2020, producing

two unredacted documents. No documents were withheld. At Plaintiff’s request, Defendant has

provided Plaintiff with information regarding the search that was conducted for this FOIA

request. Plaintiff is still evaluating that information to determine whether briefing is necessary

on the adequacy of the search.
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         2. WHITE HOUSE COMMUNICATIONS FOIA

             Defendant provided its final response to this FOIA request on May 1, 2020. The parties

      are conferring regarding Defendant’s searches and response.

         3. OUTSIDE COMMUNICATIONS FOIA

             Defendant provided its final response to this FOIA request on May 1, 2020. The parties

      are conferring regarding Defendant’s searches and response.

         4. NEXT STEPS

             The parties do not yet know whether summary judgment briefing will be necessary.

      They propose that they file a follow-up Joint Status Report within thirty days, or by July 20,

      2020, stating whether they anticipate summary judgment briefing and, if so, a proposed schedule.

      Dated: June 19, 2020                                 Respectfully submitted,
                                                           JOSEPH H. HUNT
      /s/ Emma Lewis                                       Civil Division
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      D.C. Bar No. 144574                                  MARCIA BERMAN
      AMERICAN OVERSIGHT                                   Assistant Branch Director, Civil Division
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                                                           Counsel for Defendant




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